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                                    UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
                                          (SAN JOSE VENUE)
10

11     UNITED STATES OF AMERICA,                  CR No. 16-00047 EJD HRL
                      Plaintiff,
12                                                ORDER ON APPLICATION FOR
                         v.                       MODIFICATION OF BOND (Proposed).
13
       JONATHAN CHANG AND
14     GRACE CHANG,

15                      Defendants.
       ______________________________/
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             On the Application by Defendants Jonathan Chang and Grace Chang for
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     modification of conditions of pretrial release, and good cause appearing, it is ORDERED
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     THAT:
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21       1. Pretrial Services is directed to request courtesy supervision of defendants by the

22           United States Pretrial Services Office in the Central District of California,

23           effective as of a date mutually agreed by the Pretrial Services in the Northern

24           District and Central District;

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     Order On App. For Bond Mod.                                   USA v. CHANG, 16-00047 EJD HRL
26                                              Page 1 of 2
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 1       2. That should the Pretrial Services Office in the Central District accept courtesy

 2           supervision, then both defendants may temporarily reside in the Central District

 3           of California, and

 4       3. All other conditions of supervised release shall continue as previously ordered.

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     DATED: 4/28/2016.
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     Order On App. For Bond Mod.                                       USA v. CHANG, 16-00047 EJD HRL
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